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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION


TIMOTHY FERGUSON, an individual,

    Plaintiff,

                  v.

COOK COUNTY, ILLINOIS, a municipal
corporation, CITY OF CHICAGO, a municipal
corporation, RICHARD BEDNAREK, an individual Case No. 1:20-cv-04046
and as an employee of the Chicago Police Department
and an employee of D-BATS, Inc.,
JOHN D. BARLOGA, an individual and as an            Honorable Robert M. Dow, Jr
employee of the Cook County Sheriff,
ABELARDO MERCADO, an individual and as an
employee of the Cook County Sheriff,                Magistrate Gabriel A. Fuentes
EDDIE ISHOO, an individual and as an employee of
the Cook County Sheriff, and
D-BATS Inc., an Illinois corporation.

    Defendants.


DEFENDANTS BEDNAREK’S and D-BATS’ STATEMENT OF MATERIAL FACTS IN
       SUPPORT OF THEIR MOTION FOR SUMMARY JUDGMENT

       Now comes Defendants, RICHARD BEDNAREK (“Bednarek”) and D-BATS Inc.

(“DBI”)(collectively “D-BATS”), by and through undersigned counsel, and hereby move this

Honorable Court, pursuant to Rule 56 of the Federal Rules of Civil Procedure and Rule 56.1 of

the Local Rules for the United States District Court for the Northern District of Illinois, for

summary judgment (“Motion”), and pursuant to Local Rule 56.1(a)(3), submits this Statement of

Material Facts in support of the Motion.




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                            STATEMENT OF MATERIAL FACTS

          1.   On June 29, 2018, the Circuit Court of Cook County appointed Vicki Gow (“Gow”)

as Independent Executor of the Estate of Ida Cardwell. See, Ex. 1, Feb. 20, 2020 Cook County

Court Order, ¶10.

          2.   On February 20, 2020, the Circuit Court of Cook County issued an order noting

that it had never removed Gow as the Independent Executor of the Estate of Ida Cardwell, and the

Estate of Ida Cardwell was granted leave to file an eviction action for the Property so as to evict a

tenant. See, Ex. 1, Feb. 20, 2020 Cook County Court Order, ¶10, 17.

          3.   On February 25, 2019, the Cook County Sheriff (Deputy Plybon) responded to a

call to the Property where he found Gow and Plaintiff. Ex. 2, Cook County Sheriff’s Police

Department Feb. 25, 2019 Offense/Incident Report.

          4.   On February 25, 2019, Gow advised Deputy Plybon that she was the executor of

the Property and that Plaintiff had wrongfully rented the Property to tenants. Ex. 2, Cook County

Sheriff’s Police Department Feb. 25, 2019 Offense/Incident Report.

          5.   On February 25, 2019, Plaintiff claimed that the tenants could not be evicted absent

a Court order. Ex. 2, Cook County Sheriff’s Police Department Feb. 25, 2019 Offense/Incident

Report.

          6.   On February 25, 2019, Both Gow and Plaintiff were advised that the Property rights

were a civil matter and that they should each seek legal remedies in Court. Ex. 2, Cook County

Sheriff’s Police Department Feb. 25, 2019 Offense/Incident Report.

          7.   On May 9, 2019, Bednarek went to the Property to serve a five-day eviction notice,

and did so by dropping the notice inside the residence despite Plaintiff’s request to the occupant




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to not accept the eviction notice. Dkt. 83, D-BATS Answer to Plaintiff’s Complaint, ¶19; Ex. 3,

Plaintiff Deposition at 297:2-19.

       8.      Plaintiff was present on May 19, 2019 and had an interaction with Bednarek. Ex.

3, Plaintiff Deposition at 65:18-84:20.

       9.      On May 9, 2019, The Cook County Sheriff was summoned to the Property and

Plaintiff advised that he was managing the Property. Ex. 3, Plaintiff Deposition at 65:18-84:20.

       10.     On May 31, 2019, DBI was appointed as special process server to serve the five-

day notice referenced in the Complaint. See, Ex. 4, Cook County Court Order Appointing DBI.

       11.     Gow retained DBI, and Bednarek acted as her agent on July 12, 2019. See, Ex. 5,

Gow Affidavit, ¶2, 3, 4, 6; Ex. 3, Plaintiff Deposition at 209:3-6.

       12.     Plaintiff claimed to be the Property manager on behalf of his father and that the

Property had “been in the family,” and came to the Property on July 12, 2019. Ex. 3, Plaintiff

Deposition at 81:17-82:6; 317:14-318:4.

       13.     On July 12, 2019, Cook County Sheriff deputies (the “Deputies”) were called to

the scene. Ex. 3, Plaintiff Deposition at 81:17-82:6; 317:14-318:4.

       14.     On July 12, 2019, Bednarek stated to the Deputies that Plaintiff was a trespasser

and further requested that Plaintiff be arrested for refusing to leave. See, Ex. 6, Sheriff Incident

Report, “Narrative” on p. 5; Ex. 3, Plaintiff Deposition at 109:17-111:5.

       15.     On July 12, 2019, the Deputies detained Plaintiff by placing him in handcuffs and

into their vehicle as they dealt with the situation. See, Ex. 6, Sheriff Incident Report, “Narrative”

on p. 5; Ex. 3, Plaintiff Deposition at 109:17-111:5.

       16.     The renter of the Property came to the scene on July 12, 2019 so that he could be

served with the eviction notice. See, Ex. 6, Sheriff Incident Report, “Narrative” on p. 5.



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        17.    On July 12, 2019, Bednarek signed a complaint refusal, confirming that he, on

behalf of Gow, refused to pursue a trespassing charge against Plaintiff. See, Ex. 6, Sheriff Incident

Report, “Narrative” on p. 5.

        18.    Plaintiff was never the owner of the Property. Ex. 3, Plaintiff Deposition, at 90:14-

91:8.

        19.    Plaintiff has not made or produced any FRCP 26(a) trial witness disclosures. Fact

discovery was closed on February 20, 2024 and expert discovery was closed on May 31, 2024.

Dkt. 159.



                                      Respectfully submitted,

                                      RICHARD BEDNAREK and D-BATS, INC.,



                                      /s/ Andrew D. Ellbogen
                                      /s/ Thomas J. Olson
                                      KOPKA PINKUS DOLIN PC



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